Case 5:15-cv-05197-TLB      Document 35       Filed 11/20/15    Page 1 of 13 PageID #: 626




                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


 JESSICA MOUNCE, Individually, and on
 Behalf of All Others Similarly Situated Plaintiffs                           PLAINTIFFS

 V.                              CASE NO. 5:15-CV-5197

 COMMUNITY HEALTH SYSTEMS, INC.
 A Delaware Corporation; CHSPSC, LLC,
 A Delaware Corporation; NORTHWEST
 ARKANSAS HOSPITALS, LLC, a Delaware
 Limited Liability Company d/b/a NORTHWEST
 MEDICAL CENTER; PROFESSIONAL ACCOUNT
 SERVICES, INC., a Tennessee Corporation; and
 JOHN DOES I-X                                                              DEFENDANTS


                              CASE MANAGEMENT ORDER


        A Case Management Hearing was conducted on November 3, 2015. After a review

 of the parties’ Rule 26(f) Joint Report, and based on discussions with counsel during the

 hearing, and pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, IT IS HEREBY

 ORDERED:

 1.     TRIAL SET DURING THE COURT’S FEBRUARY 21, 2017 TRIAL TERM

        The trial of this matter is scheduled for a JURY TRIAL in FAYETTEVILLE,

 ARKANSAS, at the call of the Court during a One Week Trial Term which begins on

 FEBRUARY 21, 2017, at 9:00 a.m. The parties have indicated that the case will take 3

 to 5 days to try. The case may be called up and tried at any point during the term;

 however, a more precise starting date will be set as the trial term approaches. If for some

 reason the case is “bumped” because the Court cannot accommodate all trials set for the
Case 5:15-cv-05197-TLB        Document 35        Filed 11/20/15   Page 2 of 13 PageID #: 627




 term, then the case will be re-set and tried during the “back-up” trial date which is set

 for the week of MARCH 13, 2017, at 9:00 a.m.

        The case will be tried to an eight (8) person jury–unanimous verdict required.

 Counsel are directed to report to the fifth-floor Courtroom by no later than 8:30 a.m. on

 the first day of trial unless otherwise notified.

 2.     FINAL PRE-TRIAL CONFERENCE

        A Final Pre-Trial Conference shall be conducted pursuant to the provisions of Rule

 16(e) on FEBRUARY 8, 2017, beginning at 9:00 a.m.

 3.     AMENDMENT OF PLEADINGS

        Leave to amend pleadings and/or to add or substitute parties shall be sought no

 later than FEBRUARY 5, 2016.

 4.     EXPERT DISCLOSURES

        The deadline to provide expert witness disclosures and written reports pursuant to

 Rule 26(a)(2) is MAY 13, 2016. The deadline to provide disclosures and reports of rebuttal

 experts (i.e. whose testimony will be offered solely to contradict or rebut the expert

 opinions offered by an opposing expert) is JUNE 24, 2016.

 5.     DISCOVERY

        The discovery deadline is AUGUST 19, 2016. The parties may conduct discovery

 beyond this date if all parties are in agreement to do so. To avoid later misunderstandings,

 such agreements should be reduced to a writing which describes the type, scope, and

 length of the extended period of discovery. That said, the Court will not resolve any

 disputes which may arise in the course of extended discovery.


                                                2
Case 5:15-cv-05197-TLB       Document 35        Filed 11/20/15    Page 3 of 13 PageID #: 628




        All discovery requests must be propounded sufficiently in advance of the discovery

 deadline to allow for a timely response. Witnesses and exhibits not identified and

 produced in response to Rule 26(a)(1) Initial Disclosures, and/or in response to subsequent

 discovery requests, may not be used at trial except in extraordinary circumstances. The

 Court will not grant a continuance because a party does not have time in which to depose

 a lay or expert witness.

 6.     CLASS CERTIFICATION MOTION - HEARING

        If applicable, the deadline to file a class certification motion is SEPTEMBER 1,

 2016. The deadline to file a response to the motion is OCTOBER 5, 2016. Advance

 permission is hereby granted to file a reply brief by no later than OCTOBER 19, 2016.

        A hearing on class certification will be held on NOVEMBER 3, 2016, beginning at

 9:00 a.m.

 7.     MOTIONS DEADLINES

        (a)    The deadline to file dispositive motions is SEPTEMBER 1, 2016.

        (b)    If applicable, Daubert and related expert disqualification motions should be

 filed no later than SEPTEMBER 1, 2016.

        (c)    Discovery Motions. Prior to filing a discovery motion the parties must (i)

 engage in a substantive good faith effort to amicably resolve the dispute without court

 intervention (to include at least one verbal discussion), and then, if necessary, (ii) the

 parties must schedule a conference call with the Court to discuss the dispute. In the event

 a discovery dispute cannot be informally resolved by the Court, then a formal motion must

 be filed sufficiently in advance of the discovery deadline to allow for a proper response time



                                               3
Case 5:15-cv-05197-TLB       Document 35       Filed 11/20/15     Page 4 of 13 PageID #: 629




 under the rules. The length of any such motions and supporting memorandum shall not

 exceed ten (10) pages in length (excluding exhibits). A response to a discovery motion,

 with the same page limitations, should be promptly filed.

        (d)    Motions in limine must be filed on or before JANUARY 25, 2017. Responses

 must be filed within seven (7) days thereafter. Motions submitted after the deadline may

 be denied solely on that ground. Briefs in Support of such motions and responses shall

 not exceed three (3) pages per ruling sought, except on leave of Court for good cause

 shown.

 8.     MEMORANDUM BRIEFS

        Memorandum briefs filed in support or in response to a motion (other than a

 discovery motion) must not exceed twenty-five (25) pages in length, without leave of court

 and for good cause shown. Reply briefs, when permitted, must not exceed seven (7)

 pages in length.

 9.     SETTLEMENT CONFERENCE

        The parties are ordered to attend a Settlement Conference with Magistrate Judge

 Erin L. Setser by no later than DECEMBER 9, 2016. The exact date will be set by

 separate order.1




        1
         By motion, for good cause shown, the parties may request to be excused from this
 requirement. “Good cause” will ordinarily be established by a statement that the parties
 have unsuccessfully participated in private mediation, and/or that the posture of the case
 is such that the parties believe settlement efforts would be futile and the parties intend to
 proceed to trial as scheduled.

                                              4
Case 5:15-cv-05197-TLB       Document 35       Filed 11/20/15    Page 5 of 13 PageID #: 630




 10.    PRETRIAL DISCLOSURE SHEET

        Pursuant to the provisions of Rule 26(a)(3), the parties shall simultaneously file

 Pretrial Disclosures on JANUARY 18, 2017, in a form consistent with the outline contained

 in Local Rule 26.2.

 11.    DEPOSITIONS TO BE USED AT TRIAL PURSUANT TO RULE 322

        The proffering party must designate the pertinent portions of a deposition to be used

 as evidence at trial by JANUARY 18, 2017. The opposing party must then provide notice

 of objections and/or counter-designations by JANUARY 25, 2017. These designations and

 objections should not be filed with the Court, but rather exchanged by the parties. The

 parties shall then confer in good faith to resolve any objections to designations.

        Any unresolved objections shall be made by a joint written motion filed no later than

 FEBRUARY 1, 2017. Instructions for preparing the joint motion are attached, and also

 posted on the Court’s website under Judge Brooks’ forms. Objections will be resolved

 during the Final Pre-Trial Conference.

 12.    JURY INSTRUCTIONS

        The parties must confer in advance regarding proposed jury instructions in an

 attempt to narrow areas of disagreement. The parties shall jointly submit a single agreed

 set of proposed instructions (clearly marked “AGREED”) to Chambers on or before

 FEBRUARY 1, 2017. Proposed verdict forms should be submitted as well.                Counsel

 should use model instructions whenever possible from the Eighth Circuit, AMI, or Federal



        2
        Depositions to be used solely for impeachment are not contemplated by the
 requirements of this paragraph.

                                              5
Case 5:15-cv-05197-TLB         Document 35        Filed 11/20/15    Page 6 of 13 PageID #: 631




 Jury Practice and Instructions (5th Edition), as applicable, and should note the source

 and/or basis of the instruction at the end of each instruction.

          If the parties cannot agree to a particular instruction(s), the party requesting a

 disputed instruction must submit it to the Court and to opposing counsel by the same date

 Agreed Instructions are due.           Such instructions should be clearly marked as

 “[Plaintiff’s/Defendant’s] DISPUTED Instruction No. ___.”           The legal basis for the

 instruction and brief description of the parties’ disagreement shall be provided with the

 instruction (either in the space below the form of the instruction or attached on a separate

 page).

          The parties should follow the same process to submit “agreed” and “disputed”

 proposed verdict forms.       Agreed and disputed instructions/verdict forms should be

 submitted electronically in WordPerfect or Word format to tlbinfo@arwd.uscourts.gov.

 13.      STATEMENT OF THE CASE

          Each party must submit via email by FEBRUARY 1, 2017 a concise non-

 argumentative statement/overview of the case, no more than one double spaced page in

 length, that it proposes the Court to read to the venire panel.

 14.      STIPULATIONS

          The parties should stipulate in writing to the facts not in controversy and provide the

 same to the Court via email by no later than FEBRUARY 1, 2017. Stipulations will be

 marked and received as a Court’s exhibit for the record, and may be read/shown to the jury

 at an appropriate time(s) during the trial. The parties are encouraged to use stipulations

 as a means of narrowing and simplifying fact issues submitted to the jury.



                                                 6
Case 5:15-cv-05197-TLB         Document 35         Filed 11/20/15     Page 7 of 13 PageID #: 632




 15.    WITNESS AND EXHIBIT LISTS

        Each party shall submit “final” witness and exhibit lists to the Court by no later than

 FEBRUARY 6, 2017. The lists should be in the format as set forth on the attached forms.

 Witnesses shall be grouped together under headings indicating whether they “will be

 called” or merely “may be called” to testify.

        Trial Exhibits must be identified, numbered, provided, and made available to

 opposing counsel in advance of the deadline. Counsel must then review and confer for the

 purpose of identifying any exhibits to which agreement or objections are contemplated.

 The final numbered exhibit list provided to the Court should therefore indicate—for each

 applicable exhibit—whether opposing counsel intends to “agree” (subject to proponent

 laying proper foundation) or “object” to its introduction. Prior to trial, the parties shall further

 confer and identify which, if any, of the agreed exhibits may be stipulated into evidence in

 mass at the beginning of the trial. Please promptly notify the Court via email as to which

 exhibits will be received in this manner.

        Each party shall provide a notebook of its final proposed exhibits (numbered,

 indexed, and tabbed) to Chambers by no later than FEBRUARY 15, 2017.

 16.    DEADLINES

        The deadlines set forth above are firm. Extensions and/or continuances will not be

 considered absent very compelling circumstances.

 17.    SUMMARY TABLE AND FORMS

        A table summarizing the deadlines is attached. In the event of a discrepancy

 between this Order and the summary table, the deadline set forth in the Order is



                                                  7
Case 5:15-cv-05197-TLB       Document 35       Filed 11/20/15     Page 8 of 13 PageID #: 633



 controlling . The attached forms are available for download on the Court's public website

 under "forms" tab (Judge Brooks' Forms) .

 18.   COMMUNICATION WITH COURT REGARDING TRIAL OR SETTLEMENT

       Settlements should be immediately reported to the Court.3 Please communicate any

 late developing settlement or problems/issues (i.e. over the weekend prior to trial) to the

 Courtroom Deputy, Sheri Craig, at (479) 695-4460 or tlbinfo@arwd.uscourts.gov. If notice

 of settlement is received after 1 :00 p.m. on FEBRUARY 17, 2017 , the parties will be

 assessed any costs associated with the Court's inability to timely recall the jury panel from

 reporting . The parties are further advised that the case will not be removed from the trial

 docket until an order of dismissal has& een entered .

        IT IS SO ORDERED this     Jr      day of Nov     ber, 2015 .




        3
        Prompt notification is of great help to the Court in the management of remaining
 cases set for a given trial term .

                                               8
Case 5:15-cv-05197-TLB     Document 35     Filed 11/20/15   Page 9 of 13 PageID #: 634


                              DATES AND DEADLINES

                            HEARINGS AND TRIAL DATE
FINAL PRE-TRIAL CONFERENCE                                                      2/8/17
TRIAL DATE (One Week Trial Term beginning on)                                  2/21/17
“BACK-UP” TRIAL DATE                                                           3/13/17
                                    DISCOVERY
AMEND PLEADINGS/ADD OR SUBSTITUTE PARTIES                                       2/5/16
EXPERT WITNESS DISCLOSURES/REPORTS                                             5/13/16
REBUTTAL EXPERT WITNESS DISCLOSURES/REPORTS                                    6/24/16
DISCOVERY DEADLINE                                                             8/19/16
                                      MOTIONS
CLASS CERTIFICATION MOTIONS                                                     9/1/16
DISPOSITIVE MOTIONS                                                             9/1/16
DAUBERT AND RELATED MOTIONS REGARDING EXPERT OPINION                            9/1/16
TESTIMONY (if applicable)
                            SETTLEMENT CONFERENCE
SETTLEMENT CONFERENCE (to be separately scheduled no later than)               12/9/16
                            FINAL TRIAL PREPARATIONS
PRETRIAL DISCLOSURES (per format of Local Rule 26.2)                           1/18/17
MOTIONS IN LIMINE                                                              1/25/17
DEPOSITION DESIGNATIONS (exchanged)                                            1/18/17
DEPOSITION COUNTER-DESIGNATIONS (exchanged)                                    1/25/17
JOINT MOTION TO EXCLUDE DEPOSITION TESTIMONY                                    2/1/17
JURY INSTRUCTIONS (submitted to the Court via email)                            2/1/17
STATEMENT OF THE CASE (submitted to the Court via email)                        2/1/17
STIPULATIONS (submitted to the Court via email)                                 2/1/17
WITNESS AND EXHIBIT LISTS (submitted to the Court via email)                    2/6/17
EXHIBITS NOTEBOOK (INDEXED AND TABBED) TO CHAMBERS                             2/15/17



                                          9
Case 5:15-cv-05197-TLB    Document 35   Filed 11/20/15   Page 10 of 13 PageID #: 635




                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           _______________ DIVISION


 ______________________________                                       PLAINTIFF(S)

 V.                        CASE NO. ________________

 ______________________________                                   DEFENDANT(S)


                  WITNESS LIST FOR (PLAINTIFF/DEFENDANT)

                                                          “Will” or     Live or
  No.                    Witness Name                    “May” Call    Deposition




                                        10
Case 5:15-cv-05197-TLB                  Document 35          Filed 11/20/15    Page 11 of 13 PageID #: 636




                                 IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF ARKANSAS
                                        _______________ DIVISION

 ______________________________                                                              PLAINTIFF(S)

 V.                                         CASE NO. ________________

 ______________________________                                                          DEFENDANT(S)

                                 EXHIBIT LIST FOR (PLAINTIFF/DEFENDANT)

  PRESIDING JUDGE                            PLAINTIFF’S ATTORNEY             DEFENDANT’S ATTORNEY

               Hon. Timothy L. Brooks


  TRIAL DATE(S)                              COURT REPORTER                   COURTROOM DEPUTY

                                                      Dana Hayden                   Sheri Craig

 ****************************************************************************************************
   Pltf.   Deft.       Date                                         DESCRIPTION OF EXHIBITS
   No.     No.        Offered1    Object.    Stip.   Recd2




           1
               Column for Court use only.
           2
               Column for Court use only.

                                                             11
   Case 5:15-cv-05197-TLB              Document 35           Filed 11/20/15   Page 12 of 13 PageID #: 637




                                 IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF ARKANSAS
                                        _______________ DIVISION

       ______________________________                                                    PLAINTIFF(S)

       V.                                   CASE NO. ________________

       ______________________________                                                  DEFENDANT(S)

                      DEPOSITION DESIGNATIONS FOR (WITNESS - insert name)3

                                FROM             TO

             Designated                                      OBJECTION
Excerpt     by Plaintiff or   Page   Line     Page    Line    YES/NO             BASIS FOR OBJECTION
  No.        Defendant

  1

  2
  3
  4
  5
  6
  7
  8
  9
  11
  12
  13
  14
  15


               3
               The parties must confer and collectively report their respective designations and
       objections in sequential order using one form per witness. See attached instructions and
       procedures.

                                                             12
Case 5:15-cv-05197-TLB       Document 35       Filed 11/20/15     Page 13 of 13 PageID #: 638


                      CHAMBERS OF JUDGE TIMOTHY L. BROOKS

       INSTRUCTIONS AND PROCEDURES FOR DEPOSITION DESIGNATIONS

        1.     Exchange Designations, Objections, and Counter-Designations. By the
 deadline stated in the Case Management Order, the parties must exchange page and line
 designations for all witness testimony that a party intends to present by deposition.
 Opposing counsel must then provide notice of objections and/or counter-designations.
 These designations and objections should not be filed with the Court, but rather exchanged
 by the parties. The parties must then confer in good faith to resolve objections.

        2.      Jointly Prepare One Designation Form For Each Witness. For each
 witness the Plaintiff will present by deposition, counsel must designate excerpts by page
 and line. Plaintiff must include an opposing parties’ counter-designations, chronologically
 interspersed throughout a single, joint designation form for each witness. Using the Court’s
 form, each designated excerpt should note the party making the designation, whether there
 is an objection, and if so the Rule or shorthand basis. Defendant must complete the same
 process for witnesses to be presented by deposition in Defendants’ case-in-chief only.

        3.     Prepare and File Joint Motion To Exclude Deposition Testimony. If there
 are unresolved objections, then, by no later than the deadline stated in the Case
 Management Order, the parties must file a single Joint Motion to Exclude Deposition
 Testimony for each witness. The joint motion shall begin with a concise non-argumentative
 opening paragraph introducing the witness and his/her connection to the facts. Then, for
 each objection, the objecting party’s narrative shall identify the excerpt number and a
 concise but complete basis for the objection (and authority for a “non-routine” objection).
 The proponent’s response shall appear immediately below the objection. The idea being
 to “mimic” in writing a “side bar” with the Court. Attach the joint designation form and a
 condensed copy of the complete deposition transcript, as Exhibits A and B, respectively.

        4.      Provide Highlighted and Annotated Transcript. The parties must
 separately provide Chambers with a color-highlighted version of the complete condensed
 transcript, visually identifying the Plaintiff’s designations in one highlighter color, and the
 Defendant’s designations in a different color. (Be consistent in the use of highlighter
 colors). Annotate the margin by drawing attention to the particular Q and A’s to which
 objections have been asserted. Note the excerpt number and whether it is a plaintiff or
 defendant objection.

        5.     Edit Videos and Transcripts. The Court will endeavor to rule on objections
 by no later than the Final Pre-Trial Conference. After ruling, the proponent will be
 responsible for preparing the final video version of the deposition to be presented to the
 jury, edited per the Court’s rulings. The proponent must also prepare a transcript that
 corresponds exactly to the edited video. A copy of the final edited video and corresponding
 transcript must be provided to opposing counsel at least one full business day prior to trial,
 and provided to the courtroom deputy by no later than the first morning of trial.



                                               13
